Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 1 of 27 PageID #: 8517




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION


 LISA TORREY, et al.,

      Plaintiffs,

       v.                                       Civil Action No. 5:17-cv-00190-RWS

 INFECTIOUS DISEASES SOCIETY OF
 AMERICA, et al.,

      Defendants.


 DEFENDANTS’ MOTION TO DISMISS OR STRIKE THIRD AMENDED COMPLAINT
                                AND
  REPLY IN SUPPORT OF MOTION TO DISMISS OR STRIKE SECOND AMENDED
                            COMPLAINT
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 2 of 27 PageID #: 8518




                                                    TABLE OF CONTENTS


 INTRODUCTION .......................................................................................................................... 1
 STATEMENT OF THE ISSUES TO BE DECIDED BY THE COURT ....................................... 2
 ARGUMENT .................................................................................................................................. 3
      I. Plaintiffs Falsely Claim That Recent Testimony Caused Them to Add Their New
         Misrepresentation Claims ................................................................................................... 3
      II. Plaintiffs Do Not Defend Their Continued Failure – After Full Discovery – To Plead
          Facts Sufficient To Support Their RICO And Antitrust Claims......................................... 5
      III. Plaintiffs Make No Effort To Show That They Have Standing To Bring Their RICO And
           Antitrust Claims .................................................................................................................. 7
      IV. Judicial Estoppel Bars Plaintiffs From Reversing Their Prior Successful Representations
          To The Court That They Are Not Seeking Recovery For Personal Injuries ...................... 8
      V. Plaintiffs’ Defense Of Their New Misrepresentation Claims Rests On Misstatements Of
         The Law, The Guidelines, And The Testimony ................................................................. 9
           A. Plaintiffs’ Failure To Establish The Correct Governing Law Warrants Dismissal With
              Prejudice ..................................................................................................................... 10
           B. No Matter Which State’s Law Applies, Plaintiffs Cannot Recover For Alleged
              Misrepresentations In Medical Guidelines That Are Medical Opinions, Not Factual
              Representations ........................................................................................................... 12
           C. No Matter Which State’s Law Applies, The IDSA Guidelines Refute Plaintiffs’
              Allegations of Falsity .................................................................................................. 14
           D. Plaintiffs Fail To Allege Sufficient Details To State Claims For Misrepresentation
              Under Virginia Law And Rule 9(b) ............................................................................ 17
           E. Virginia Would Not Recognize Plaintiffs’ Claim For Derivative Reliance Because
              IDSA Had No Special Relationship With Plaintiffs ................................................... 19
      VI. The Court Should Strike Plaintiffs’ New Misrepresentation Claims Because They Come
          Too Late And Are Highly Prejudicial ............................................................................... 22
 CONCLUSION ............................................................................................................................. 23




                                                                       i
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 3 of 27 PageID #: 8519




                                         INTRODUCTION

        Defendants Dr. Gary P. Wormser, Dr. Raymond J. Dattwyler, Dr. Eugene Shapiro, Dr.

 John J. Halperin, Dr. Leonard Sigal, and Dr. Allen Steere (collectively, the “Doctors”) and the

 Infectious Diseases Society of America (“IDSA”) submit this Motion to Dismiss Plaintiffs’ Third

 Amended Complaint, Dkt. 361 (“TAC”) or, in the alternative, to strike Plaintiffs’ new

 misrepresentation claims. To avoid duplicative briefing, this Motion also serves as IDSA and the

 Doctors’ Reply in Support of their Motion to Dismiss or Strike Plaintiffs’ Second Amended

 Complaint (Dkt. 355). Defendants request a hearing for oral argument on this motion.

        Plaintiffs’ Response to the Motion to Dismiss (Dkt. 362) fails to respond to most of

 Defendants’ arguments, which are fully applicable to the new Third Amended Complaint. When

 Plaintiffs do respond, they misstate the facts and/or law.

        Plaintiffs do not dispute that their Second Amended Complaint admits that even after full

 fact discovery they still cannot plead their RICO and antitrust claims. Plaintiffs assert only that

 they are not obligated to file an amended complaint. While true, Plaintiffs cannot escape the fact

 that by filing a new complaint after fact discovery has closed – and admitting that they still lack

 the details necessary to plead the payments that underlie their RICO and antitrust claims –

 Plaintiffs have admitted, yet again, that they cannot state their claims even after three years of

 discovery.

        Plaintiffs make the same admission in their Third Amended Complaint.

        Plaintiffs assert that the recent testimony of IDSA and the Doctors just now made them

 aware that they could assert misrepresentation claims against IDSA and seek to recover for their

 personal injuries. That assertion is objectively false. Plaintiffs possessed every fact they now

 assert supports their new claims when they filed their Original Complaint and/or their First

 Amended Complaint – if not earlier.
                                                  1
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 4 of 27 PageID #: 8520




        In seeking to salvage their new misrepresentation claims from dismissal, Plaintiffs misstate

 the law at every turn. They rely on Texas law, which does not apply to the claims of these nearly

 two dozen disparate Plaintiffs, and they cite no case from any state that extends the common law

 to impose liability on a professional medical society issuing voluntary guidelines that allegedly

 contribute to the misdiagnosis of distant, unrelated patients.

        Plaintiffs also cannot save from dismissal their new misrepresentation claims by pointing

 to their Third Amended Complaint, which they filed immediately before they filed their Response

 brief. Even if the Third Amended Complaint pled the new claims with the particularity required

 by Rule 9(b) – and it does not – the new claims would be subject to dismissal based on the other

 grounds set forth in Defendants’ motion to dismiss the Second Amended Complaint.

        Finally, nothing in Plaintiffs’ Response or their Third Amended Complaint should dissuade

 the Court from exercising its discretion to strike Plaintiffs’ new misrepresentation claims as

 untimely. Those claims, even if properly pled, should have been filed long ago. Plaintiffs cannot

 plead additional claims at the very end of fact discovery – and then amend those claims yet again

 after the end of fact discovery.

             STATEMENT OF THE ISSUES TO BE DECIDED BY THE COURT

        1.      Whether Plaintiffs’ Third Amended Complaint should be dismissed under Federal

 Civil Rules 9(b) and 12(b)(6) because:

                a.      Plaintiffs failed to allege facts sufficient to plead a plausible cause of action

        under the RICO Act; and

                b.      Plaintiffs failed to allege facts sufficient to plead a plausible cause of action

        against under the Sherman Act.

                c.      Plaintiffs failed to plead the elements of intentional misrepresentation or

        negligent misrepresentation.

                                                   2
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 5 of 27 PageID #: 8521




           2.      Whether Plaintiffs’ new claims for personal injury and emotional distress damages are

 barred by the doctrine of judicial estoppel.

           3.      In the alternative, whether Plaintiffs’ amendment to add new claims at the end of the

 fact discovery period should be struck.

                                                ARGUMENT

 I.        Plaintiffs Falsely Claim That Recent Testimony Caused Them to Add Their New
           Misrepresentation Claims

           Plaintiffs seek to justify adding claims at the end of the fact discovery period by asserting

 that “[t]he reason for these new causes of action is the recent testimony of the IDSA corporate

 representative and the IDSA Doctors.” Dkt. 362 at 1. This assertion is patently false.

           In particular, Plaintiffs assert that they learned for the first time through recent depositions

 that “the guidelines provide false information, including false information about treatment failure.”

 Dkt. 362 at 1; see also Dkt 362 at 5 (“The recent testimony is the IDSA provides false information

 regarding numerous things including treatment failure.”). If the IDSA Guidelines falsely deny

 treatment failure – and they do not – Plaintiffs did not learn that from the recent depositions.

 Plaintiffs alleged repeatedly in their Original Complaint and their First Amended Complaint – each

 filed well before any depositions – that IDSA’s Lyme disease guidelines include false information

 about treatment failure.1



 1
      See Original Complaint (Dkt. 1) at ¶ 64 (alleging the 2000 Guidelines falsely restricted antibiotic
      treatment to 28 days); ¶ 74 (alleging that the 2006 Guidelines falsely claimed Lyme disease is
      easily cured with 28 days of antibiotics); ¶ 99(a) (accusing IDSA of “fraudulently and
      wrongfully misleading people with Lyme disease, and their doctors”); ¶ 99(b) (alleging that
      IDSA falsely claimed all Lyme disease patients can be easily treated and cured with short-term
      antibiotics); First Amended Complaint (Dkt. 186) at ¶ 85 (alleging that the 2006 Guidelines
      falsely deny treatment failure and “actually promote the idea that Lyme is a simple, rare illness
      that is easy to avoid, difficult to acquire, simple to diagnose, and easily treated and cured with
      28 days of antibiotics”); ¶ 95 (same); ¶ 98 (IDSA and the other Defendants “have perpetrated a
      fraud on the American people” by denying treatment failure for Lyme disease).
                                                       3
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 6 of 27 PageID #: 8522




          Plaintiffs also assert that they learned for the very first time through the recent depositions

 that “IDSA provides false information regarding the accuracy of testing for Lyme disease” and

 “that the two-tier test is completely inaccurate and fails to detect Lyme disease.” Dkt. 362 at 7. If

 the IDSA guidelines misrepresent the two-tier test – and they do not – Plaintiffs did not learn that

 from the recent depositions. Plaintiffs alleged repeatedly in their Original Complaint and their

 First Amended Complaint that the IDSA Guidelines misrepresent the two-tier test.2

          But it gets even worse. Plaintiffs assert that they did not learn until they took IDSA’s Rule

 30(b)(6) deposition that they needed to seek recovery for personal injuries and therefore would

 need to change their prior representations to this Court regarding the damages they seek. Here is

 Plaintiffs’ explanation:

          Plaintiffs did not know of the inconsistent position until taking recent depositions.
          For example, the IDSA corporate representative was deposed on November 24,
          2020. (Ex. D). This deposition was taken a few weeks before Plaintiffs filed their
          Second Amended Petition. (Docket #352). In this deposition, Plaintiffs learned
          that the IDSA takes the position that it is the “leading medical authorities on the
          diagnosis and treatment of Lyme disease” and doctors all over the country,
          including in Texarkana Texas, rely solely on these guidelines:

 Dkt. 362 13-14 (emphasis added).

          Where to start? It is incredible that Plaintiffs would blame IDSA and the Doctors for their

 prior statements to the Court that they were not seeking damages for personal injuries. But it is

 equally incredible that Plaintiffs only claim to have learned from a deposition on November 24,

 2020, that “IDSA takes the position that it is the ‘leading medical authorities’” [sic] on Lyme

 disease. As Plaintiffs well know, that statement is not from Plaintiffs’ recent deposition of IDSA




 2
     See Original Complaint at ¶ 95 (alleging the 2006 Guidelines falsely required the two-tier test);
     ¶ 150 (alleging IDSA fraudulently kept improper testing protocols in place); see First Amended
     Complaint at ¶ 89 (alleging the 2006 Guidelines falsely required the two-tier test); ¶ 151
     (alleging IDSA fraudulently kept improper testing protocols in place).
                                                   4
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 7 of 27 PageID #: 8523




 but rather is from a public letter to five members of the U.S. House of Representatives dated May

 22, 2015, that Plaintiffs themselves introduced as an exhibit at their deposition of IDSA but did

 not attach to their Response.3

          Equally absurd is Plaintiffs’ suggestion that they learned only from the IDSA deposition

 that doctors may rely on the IDSA guidelines when diagnosing and treating Lyme disease.

 Plaintiffs went even further in their Original Complaint and in their First Amended Complaint

 when they alleged that the IDSA guidelines “are treated as mandatory requirements” that “must

 be followed by doctors.”4

          Plaintiffs in fact learned absolutely nothing new from the recent depositions.

 II.      Plaintiffs Do Not Defend Their Continued Failure – After Full Discovery – To Plead
          Facts Sufficient To Support Their RICO And Antitrust Claims

          Plaintiffs in their Response make no effort to defend their RICO and antitrust claims as

 pled in their Second Amended Complaint; they simply refer to the Court’s prior ruling that the

 claims were adequately pled – a ruling that relied in part on the fact that, at the time, discovery

 was ongoing. Yet as the Court’s rules set forth, “[a] party’s failure to oppose a motion in the

 manner prescribed herein creates a presumption that the party does not controvert the facts set out

 by movant and has no evidence to offer in opposition to the motion.” Local Rule CV-7(d).

          Likewise, Plaintiffs make no effort in their new Third Amended Complaint to plead their

 RICO claims with particularity – as required by Rule 9(b). Plaintiffs simply deleted the assertions

 from their Second Amended Complaint that “[i]t is impossible for Plaintiffs to answer the

 newspaper questions regarding payments to the IDSA panelists until meaningful discovery to [sic]



 3
     See Ex. 1, May 22, 2015 Letter, Exhibit 3 to Busky Deposition.
 4
     See Original Complaint at ¶ 111, 113, 74; First Amended Complaint at ¶ 101, 103, 72. Plaintiffs
     even argued that doctors ‘solely’ rely on the IDSA Guidelines by claiming they are part of a
     monopoly. E.g., Original Complaint ¶ 131.
                                                    5
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 8 of 27 PageID #: 8524




 conducted,” SAC ¶ 53, and that “[i]t is impossible for Plaintiffs to answer the newspaper questions

 regarding reports to medical boards made from the Settling Insurance Companies to the medical

 boards until meaningful discovery to [sic] conducted.” SAC ¶ 70.

          In their Third Amended Complaint, Plaintiffs admit yet again that they cannot meet Rule

 9(b)’s pleading requirements for their RICO claims. Plaintiffs still ask for the Court to apply a

 relaxed pleading standard because they are “unable, without pretrial discovery” to plead their

 claims with particularity. TAC ¶ 52

          A relaxed pleading standard spared Plaintiffs’ RICO claims from dismissal earlier in the

 case – before Plaintiffs had the benefit of full discovery to try and identify the alleged payments

 at the core of their claims. Yet the fact discovery period closed on January 15, 2021. Because

 Plaintiffs have admitted in their two most recent amended complaints that they still cannot meet

 Rule 9(b)’s pleading requirements, their RICO claims should be dismissed with prejudice.5

          Plaintiffs’ antitrust claims depend upon the existence of the same exact payments that

 support their RICO claims – payments that Plaintiffs admit they cannot plead because they have

 no evidence of them. Because these conspiracy claims are based on the same allegations of

 fraudulent activity as the RICO claims, they are subject to the same pleading standard. Huawei

 Techs. Co. v. Yiren Huang, No. 4:17-CV-00893, 2018 WL 1964180, at *11 (E.D. Tex. Apr. 25,

 2018); see also U.S. ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 193 (5th Cir. 2009). Plaintiffs’




 5
     Plaintiffs cannot save their RICO and antitrust claims by referring to unspecified testimony they
     hope to elicit from their to-be-designated experts, including Dr. Sam Donta. Dkt. 362 at 4. We
     have been down this road before. Plaintiffs once before designated Dr. Donta as a “non-retained
     expert,” forcing Defendants to file a motion for a protective order to require Dr. Donta to submit
     an expert report before his deposition. See Dkt. 281 (Motion for Protective Order). After oral
     argument, Plaintiffs withdrew their designation of Dr. Donta. If Plaintiffs had reason to believe
     Dr. Donta possesses facts to support their RICO and antitrust claims, they would have deposed
     him during the fact discovery period, but they did not.
                                                    6
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 9 of 27 PageID #: 8525




 original conclusory allegations that payments were made were sufficient to permit an inference of

 an antitrust conspiracy earlier in the case. Now, however, there can be no inference of conspiracy

 in light of the admission by Plaintiffs that there is no evidence – after full fact discovery – of any

 systematic payments. Like the RICO claims, the antitrust claims also should be dismissed with

 prejudice.

 III.   Plaintiffs Make No Effort To Show That They Have Standing To Bring Their RICO
        And Antitrust Claims

        Plaintiffs also make no effort to remedy the fact that they still have not pled (in either new

 complaint) that they suffered injuries to business or property as required by their RICO and

 antitrust claims. Under the Sixth Circuit’s en banc ruling in Jackson v. Sedgwick Claims

 Management Services, Inc., 731 F.3d 556 (6th Cir. 2013), Plaintiffs’ RICO and antitrust claims

 must be dismissed with prejudice because they seek only damages that flow from their alleged

 personal injury claims.

        Plaintiffs in their Response rely only on their prior briefing and the Court’s prior ruling.

 Neither saves Plaintiffs claims in the face of Plaintiffs’ new personal injury claims.

        Plaintiffs previously argued that they were asserting “no allegations that can even be read to

 infer personal injury claims against any of the Defendants.” Dkt. 60 at 10. The Court accepted that

 assurance as the basis for its ruling, allowing the RICO and antitrust claims to go forward to

 discovery expressly because Plaintiffs represented that they were not seeking personal injury

 damages. Dkt. 114 at 24-25. That argument no longer applies because Plaintiffs now explicitly

 seek personal injury damages. Plaintiffs in their Response ignore this deficiency, which infects

 both the Second and Third Amended Complaints and requires that the RICO and antitrust claims

 be dismissed.



                                                   7
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 10 of 27 PageID #: 8526




 IV.    Judicial Estoppel Bars Plaintiffs From Reversing Their Prior Successful
        Representations To The Court That They Are Not Seeking Recovery For Personal
        Injuries

        To save their new misrepresentation claims from dismissal under the doctrine of judicial

 estoppel, Plaintiffs submit false explanations for adding last-minute claims seeking recovery for

 personal injuries after years of representing to the Court that they were not seeking recovery for

 personal injuries.

        Plaintiffs admit that the first two elements of judicial estoppel (an inconsistent prior

 position and acceptance of that position by the Court) are met. Dkt. 362 at 12-13.

        Plaintiffs’ only response is to assert that the third element is not met because their

 inconsistent positions were “inadvertent.” Dkt. 362 at 13 (citing Allen v. C & H Distribs., L.L.C.,

 813 F.3d 566, 572 (5th Cir. 2015)). In other words, Plaintiffs had to depose the Defendants to

 know what personal injuries the Plaintiffs suffered. Why? Because “Plaintiffs did not know of the

 inconsistent position until taking recent depositions.” Dkt. 362 at 13-14.

        Of course, what Plaintiffs claim to have learned from the recent depositions had nothing to

 do with their prior disclaimer of personal injuries. They only claim they did not know until they

 took IDSA’s deposition that IDSA takes the position that the authors of its Guidelines are leaders in

 the diagnosis and treatment of Lyme disease and that other doctors rely in the IDSA Guidelines.

        The assertion is also patently false. Plaintiffs knew long before taking the IDSA deposition

 that IDSA takes the position that its members are leading medical authorities on Lyme disease.

 E.g., Original Complaint at ¶ 111, 113, 74, 131; First Amended Complaint at ¶ 101, 103, 72. Long

 before taking the IDSA deposition, Plaintiffs also knew enough to allege that doctors may rely on

 the IDSA guidelines when diagnosing and treating Lyme disease. E.g., Original Complaint at ¶

 122; First Amended Complaint at ¶ 115. And long before taking the IDSA deposition, Plaintiffs

 knew enough to allege that the IDSA’s allegedly false Lyme disease guidelines caused Plaintiffs
                                                   8
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 11 of 27 PageID #: 8527




 to suffer personal injuries. See Original Complaint ¶¶ 101, 132-140. It is telling that Plaintiffs added

 their new misrepresentation claims and personal injury damages claims in their Second Amended

 Complaint without alleging a single new fact. All they did was switch the very nature of their damages

 – more than three years into the case.

         Parties do not act “inadvertently” when they had a motive to conceal. Here, “[b]y not

 disclosing their personal injury claim … [Plaintiffs’] motivation for concealment is self-evident

 because of the ‘potential financial benefit resulting from the nondisclosure.’” Allen, 813 F.3d at 574.

 By denying personal injuries earlier, Plaintiffs sought a potential treble damages windfall by keeping

 their RICO and antitrust claims alive. Plaintiffs cannot reap a reward for tactical delay by seeking to

 add – after the close of fact discovery – claims for relief that they could have asserted in their Original

 Complaint.

 V.      Plaintiffs’ Defense Of Their New Misrepresentation Claims Rests On Misstatements
         Of The Law, The Guidelines, And The Testimony

         Plaintiffs failed to establish that Texas law would govern their new misrepresentation

 claims, which warrants dismissal of those claims after Plaintiffs amended their Second Amended

 Complaint after Defendants raised the choice of law issue in their Motion to Dismiss the Second

 Amended Complaint.

         The choice of law analysis Plaintiffs do apply is wrong because Virginia law should govern

 where the law on these claims is in conflict. However, on the universal elements of Plaintiffs’ new

 claims, which require misrepresentations to be factual statements (not opinions) and require them

 to be false, Plaintiffs’ claims fail regardless of which law applies. Plaintiffs also wholly fail to

 allege the facts underlying their claims in sufficient detail to state a claim under the applicable

 federal and state pleading standards.




                                                     9
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 12 of 27 PageID #: 8528




        Finally, where there is a conflict of law regarding their novel theory of reliance based on

 the actions of their treating physicians, Plaintiffs cannot establish a “special relationship” that

 would support the application of their theory. Nor can they demonstrate that their novel theory

 would be acceptable under any state’s law.

        A.      Plaintiffs’ Failure To Establish The Correct Governing Law Warrants
                Dismissal With Prejudice

        Plaintiffs are flat wrong when they argue that because jurisdiction is based on the existence

 of a federal question Texas law applies to their common law claims. First, Texas choice of law

 rules apply, not Texas substantive law. A federal court deciding a non-federal tort claim, such as

 the misrepresentation claims of Plaintiffs, must apply the choice of law rules of the forum in which

 it sits, regardless of whether jurisdiction is based on diversity of citizenship or supplemental

 jurisdiction under 28 U.S.C. § 1367. Janvey v. Brown, 767 F.3d 430, 434 (5th Cir. 2014) (“It is

 well-settled that choice of law issues for supplemental state law claims … are governed by the

 forum state in which the federal court is sitting.”).

        For claims such as Plaintiffs’ misrepresentation claims, “Texas courts use the ‘most

 significant relationship’ choice-of-law analysis.” See, e.g., Schweiger v. USAA Fed. Sav. Bank,

 No. SA-17-CV-00660-OLG, 2017 WL 6503660, at *2 (W.D. Tex. Dec. 18, 2017) (cited by

 Plaintiffs at Dkt. 362 at 10). The same test would apply under a federal choice of law analysis.

 Jimenez v. Sun Life Assur. Co. of Canada, 486 Fed. App’x 398, 407 (5th Cir. 2012).

        Choice of law issues are decided on a motion to dismiss because choosing the applicable

 law is a “threshold issue that sets the framework for the entire litigation.” Corder v. BBG

 Commc'ns, Inc., No. CIV.A. W-11-CA-00264, 2012 WL 3843714, at *8 (W.D. Tex. July 30, 2012);

 Berry v. Indianapolis Life Ins. Co., 608 F. Supp. 2d 785, 800 (N.D. Tex. 2009) (“A complaint

 should be dismissed when the governing law cannot be determined from the facts alleged therein.”).

                                                   10
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 13 of 27 PageID #: 8529




 As such, Plaintiffs were required to plead facts to allow the Court to perform this “analysis for

 each plaintiff on an issue-by-issue basis,” so that the Court could determine the proper law for

 each alleged misrepresentation and injury to each Plaintiff . Norwood v. Raytheon Co., 237 F.R.D.

 581, 594 (W.D. Tex. 2006) (citing Lutheran Bhd. v. Kidder Peabody & Co., 829 S.W.2d 300, 310

 (Tex. App. 1992). Where, as here, Plaintiffs assert misrepresentation but do not address the place

 of reliance or the place of receipt of the statements, dismissal is appropriate. Enigma Holdings,

 Inc. v. Gemplus Int'l S.A., No. 3:05 CV 1168 B, 2006 WL 2859369, at *7 (N.D. Tex. Oct. 6, 2006).

 In a case like this, where Plaintiffs responded to the motion to dismiss with another amended

 complaint, the Court may “assume that the allegations in the amended complaint are the [Plaintiffs’]

 best case” and dismiss with prejudice if it cannot determine the proper law for each Plaintiff and

 injury alleged. Corder, 2012 WL 3843714, at *9.

        If the Court does need to determine the governing law, it need only do so for elements

 where there is a conflict among the states. Vandeventer v. All American Life & Cas. Co., 101

 S.W.3d 703, 712 (Tex. App. 2003). As discussed below, most elements of misrepresentation are

 universal, such as the requirement of a factual statement and the requirement of falsity, but

 Plaintiffs advance a novel theory to satisfy the element of detrimental reliance under the

 Restatement, which would require this Court to determine the governing law.

        Under the Texas choice of law rules, the most significant relationship test leads inexorably

 to the application of Virginia law. The test considers four factors that are relevant to the

 misrepresentation claims: (1) the place “plaintiff acted in reliance upon the defendant’s

 representations,” (2) the “place where plaintiff received the representations,” (3) the “place where

 defendant made the representations,” and (4) the domicile of the parties. Vanderbilt Mortg. & Fin.,

 Inc. v. Posey, 146 S.W.3d 302, 315 (Tex. App. 2004). Plaintiffs do not allege the first two factors


                                                 11
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 14 of 27 PageID #: 8530




 because they do not claim that “Plaintiffs” acted in reliance on or received the statements in the

 IDSA Guidelines. Instead, they claim that unspecified treating physicians located in various

 unspecified states relied on the Guidelines when treating Plaintiffs. Indeed, neither of the new

 complaints contains any information as to any of the four factors except the place IDSA is located

 and published the guidelines: Virginia. As such, Virginia is the only state with any discernible

 connection to the new claims and is the state with an interest in regulating the conduct of IDSA.

        Plaintiffs offer no support for their conclusory statement that “the true test is where the

 injuries occurred.” Dkt. 362 at 10. Even so, there is no single location where the alleged injuries

 occurred. Plaintiffs’ argument that “several of the Plaintiffs live in Texas, where their injuries

 occurred,” Dkt. 362 at 10, is not true. Only two plaintiffs allege they are residents of Texas, and

 one of those moved to California for a time. TAC ¶¶ 1-2. There is no evidence that any non-Texas

 resident was injured in Texas, and the new complaints suggest that treatment was sought in

 multiple states by different Plaintiffs. See TAC ¶ 130. As such, Virginia law would apply to

 Plaintiffs’ new claims.

        B.      No Matter Which State’s Law Applies, Plaintiffs Cannot Recover For
                Alleged Misrepresentations In Medical Guidelines That Are Medical
                Opinions, Not Factual Representations

        Regardless of the which state’s law applies, the IDSA Guidelines are statements of general

 medical opinion, not factual statements that can be considered misrepresentations. Both Virginia

 and Texas require that an alleged misrepresentation must be of a fact and not an opinion. Paul v.

 Capital Resource Mgmt., Inc., 987 S.W.2d 214, 219 (Tex. App. 1999); Klaiber v. Freemason

 Assocs., Inc., 587 S.E.2d 555, 558 (Va. 2003). Plaintiffs make no response to the requirement that

 a doctors’ statements can only be considered a “fact” (as opposed to a non-actionable general

 medical opinion) for purposes of a misrepresentation claim when there is a “special relationship,”

 such as direct doctor-patient relationship where the “relative knowledge of the parties” was
                                              12
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 15 of 27 PageID #: 8531




 unequal. Glenn v. Trauben, 70 Va. Cir. 446, 448 (2004). Even under the Texas law, there is no

 “false representation of a material fact” when “there was a legitimate difference of opinion among

 learned experts” regarding the risk of medical treatments. Weidner v. Marlin, No. 04-96-00160-

 CV, 1997 Tex. App. LEXIS 4875, at *27-28 (Tex. App. Aug. 29, 1997). Plaintiffs (or their doctors,

 the persons the Plaintiffs allege were the true ‘recipients’ of the IDSA Guidelines) were equally

 capable of reviewing the studies and papers cited as the basis for the opinions expressed in the

 IDSA Guidelines, and when “the information forming the basis for [Defendant]’s opinions was

 equally available to both … [the] statements are not actionable misrepresentations.” Paul, 987

 S.W.2d at 220. Plaintiffs’ arguments that the IDSA is a preeminent authority on infectious disease

 “confuse ‘knowledge’ with ‘expertise,’” and the court in Paul explained that as long as the

 underlying basis for an expert’s opinion is available to both sides, there can be no

 misrepresentation. Id. at 219.

          This result is not unusual.      For more than a century, it has been clear that mere

 disagreements regarding standards for treatment of diseases are not actionable factual statements.

 Am. Sch. of Magentic Healing v. McAnnulty, 187 U.S. 94, 105 (1902) (“[T]he effectiveness of

 almost any particular method of treatment of disease is, to a more or less extent, a fruitful source

 of difference of opinion. … The opinions entertained cannot, like allegations of fact, be proved to

 be false.”). 6 In McAnnulty, the Supreme Court considered whether statements regarding the

 efficacy of a non-standard medical treatment could be considered a false statement of fact that was

 actionable fraud and concluded that the statements were medical opinions and not provably false




 6
     Plaintiffs’ suggestion that medical guidelines are a “recent phenomenon” is laughable. The
     Supreme Court ruled in 1902 that disputes among the medical community were no basis for
     claims of fraud. And the guidelines that form the basis for Plaintiffs’ claims were first published
     more than 20 years ago, which is not particularly recent.
                                                   13
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 16 of 27 PageID #: 8532




 statements of fact. Id. Plaintiffs here have alleged a “disagreement … between actual Lyme

 disease doctors and research doctors.” TAC ¶ 116. Addressing a similar debate, the Court

 concluded that “these different schools of medicine have their followers, and many who believe in

 the one will pronounce the other wholly devoid of merit. But there is no precise standard by which

 to measure the claims of either.” McAnnulty, 187 U.S. at 106.

          This fundamental problem dooms Plaintiffs’ misrepresentation claims. The statements in

 the IDSA Guidelines are not actionable statements of fact that Plaintiffs could prove are

 misrepresentations of fact. Plaintiffs’ critique of the Guidelines merely underscores the non-

 factual nature of the challenged recommendations in the Guidelines.7 “Expressions of opinion,

 scientific judgments, or statements as to conclusions about which reasonable minds may differ

 cannot be false.” United States ex rel. Morton v. A Plus Benefits, Inc., 139 F. App’x 980, 983

 (10th Cir. 2005).

          C.     No Matter Which State’s Law Applies, The IDSA Guidelines Refute
                 Plaintiffs’ Allegations of Falsity

          It is axiomatic that to prove a claim for misrepresentation Plaintiffs must plead that the

 statements at issue were actually false. This requirement arises under the applicable law of every

 state, including Texas. See Trenholm v. Ratcliff, 646 S.W.2d 927, 930 (Tex. 1983) (requiring false

 statement of fact, not opinion, for fraud claims); R&M Mixed Beverage Consultants, Inc. v. Safe

 Harbor Benefits, Inc., 578 S.W.3d 218, 239 n.11 (Tex. App. 2019) (same for negligent

 misrepresentation).




 7
     See, e.g., TAC ¶ 44 (describing conflicting “opinions” regarding Lyme disease); TAC ¶ 72
     (alleging IDSA “improperly ignored or minimized medical opinion regarding chronic Lyme
     disease”).
                                                   14
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 17 of 27 PageID #: 8533




         To justify waiting until fact discovery is over to bring their new misrepresentation claims,

 Plaintiffs assert that recent deposition testimony reveals for the first time that the IDSA Guidelines

 are fraudulent. Once again, the deposition testimony adds nothing that the Plaintiffs did not allege

 long ago and/or did not already know long ago, and their selective quotations from both the

 Guidelines and the recent depositions are misleading and make no showing that the Guidelines are

 false in any way.

         Looking to the Guidelines themselves confirms that Plaintiffs have not adequately pled that

 the Guidelines contain any false statements at all. Rogers v. City of Yoakum, 660 F. App’x 279,

 285 (5th Cir. 2016) (“Because the exhibits attached to Rogers’s complaint contradict his

 allegations, we assume the facts in the exhibits to be true.”). The failure to plead that the IDSA

 Guidelines contain alleged statements of fact that are actually false is another deficiency that

 dooms both misrepresentation claims.

         Plaintiffs assert that the IDSA Guidelines “specifically state there is absolutely no

 treatment failure for Lyme disease.” Dkt. 362 at 5; TAC ¶ 193. However, the Guidelines without

 question recognize that initial treatment might fail. Just one example: “Not all patients with Lyme

 arthritis respond to 2–4-week courses of oral or intravenous antibiotic therapy.” Ex. 2, 2006 IDSA

 Guidelines at 1112. The Doctors explained at their depositions that the Guidelines recognize

 treatment failure,8 but Plaintiffs conveniently ignore this testimony.



 8
     For example, Dr. Wormser testified as follows:
          Q. Okay. Well, can you tell me why the 2000 and 2006 guidelines do not reference
            treatment failure as a possibility?
          A.      No, I don’t think that’s correct at all.
          ….
          A. Okay. [Reading from the 2006 Guidelines] “Regardless of the clinical manifestation
          of Lyme disease, complete response to treatment may be delayed beyond the treatment

                                                  15
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 18 of 27 PageID #: 8534




         Plaintiffs similarly misstate the Guidelines when they assert that the Guidelines falsely say

 that the standard two-tier test must yield a positive result in order to diagnose Lyme disease.

 Plaintiffs allege as follows: “The IDSA tells doctors that the only way to determine whether a patient

 has Lyme disease is the two-tier serologic test: ‘Confirmation of the diagnosis requires serologic testing.

 All patients should be determined to be seropositive by 2-tier testing that includes an ELISA and IgG

 immunoblot.’” Dkt. 362 at 7 (quoting 2006 Guidelines at 1110). The Guidelines do include the

 quoted material. What Plaintiffs do not point out – and do not want the Court to understand – is

 that there is early Lyme disease and late Lyme disease; the quoted material is from a section of the

 Guidelines that discusses a manifestation of late Lyme disease, when the two-tier antibody test has

 proven to be accurate and effective. 2006 Guidelines at 1109-1113.

         The Guidelines absolutely do not require a positive result on the standard two-tier test in

 order to diagnose early Lyme disease, and they make clear that for diagnosing early Lyme disease,

 the standard two-tier test is not recommended: “Serologic testing is too insensitive in the acute

 phase (the first 2 weeks of infection) to be helpful diagnostically. Patients should be treated on

 the basis of clinical findings.” 2006 Guidelines at 1101. Plaintiffs seek to oversimplify a complex

 question in order to allege misrepresentation. The fact that the Guidelines explain that the two-

 tier test is useful in some contexts and not others does permit Plaintiffs to allege that the Guidelines

 contain a statement of fact that is false, and Plaintiffs’ new complaint makes no attempt to consider



         duration, relapse may occur with any of these regimens. Patients with objective signs of
         relapse may need a second course of treatment.”
         Q. Okay. That doesn't say anything about treatment failure, Dr. Wormser.
         A. That’s treatment failure, relapse -- objective signs of relapse, that’s treatment failure.

  Ex. 3, Wormser Depo 36:17-19, 37:11-19 (these excerpts were purportedly attached as Exhibit I
   to the Third Amended Complaint, but were not contained in the copies served, so are attached
   as Exhibit 3 for the Court’s convenience).
                                              16
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 19 of 27 PageID #: 8535




 the actual context or evidence supporting their cherry-picked quotations. Again, the Doctors

 explained all of this during their depositions – testimony Plaintiffs ignore while quoting other

 portions of the very same depositions.

           Plaintiffs have misstated the standard two-tier test before, most recently when Plaintiffs

 sought to avoid providing the standard two-tier test in connection with appearing for their

 independent medical exams – as the Court long ago authorized the IME physician to request that

 the Plaintiffs submit. See Dkt. 347, Dkt. 349.

           The Guidelines do not make unequivocal assertions that Plaintiffs could allege are false

 statements of fact. As stated, Plaintiffs’ misrepresentation claims therefore fail to plead the

 required element of falsity and must be dismissed. Plaintiffs cannot allege misrepresentation by

 pointing only to “isolated portions of complex” documents, such as the IDSA Guidelines, but they

 “must be read in their entirety to be given effect.” Lone Star Fund V (U.S.), L.P. v. Barclays Bank

 PLC, 594 F.3d 383, 388 (5th Cir. 2010). When Plaintiffs’ alleged misrepresentations from the

 Guidelines are placed in context, it is clear they do not take the positions ascribed to them in

 Plaintiffs’ conclusory paraphrasing and that they cannot support Plaintiffs’ new misrepresentation

 claims.

           D.     Plaintiffs Fail To Allege Sufficient Details To State Claims For
                  Misrepresentation Under Virginia Law And Rule 9(b)

           Both of Plaintiffs’ new misrepresentation claims, because they are based on the same set

 of facts, are subject to the heightened pleading standard of Rule 9(b). Lone Star Fund V (U.S.),

 L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 n.3 (5th Cir. 2010) (“Rule 9(b) does apply … when




                                                   17
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 20 of 27 PageID #: 8536




 ‘fraud and negligent misrepresentation claims are based on the same set of alleged facts.”). 9 In

 addition, both actual and constructive fraud claims in Virginia are subject to a heightened burden

 of proof requiring clear and convincing evidence, which impacts the pleading requirements. Such

 claims necessarily must be “distinctly alleged” and “show, specifically and in detail all elements

 of the cause of action at a level which, if believed, would qualify as clear and convincing proof.

 ‘Generalized, nonspecific allegations … are insufficient to state a valid claim of fraud.’” Sweely

 Holdings, LLC v. SunTrust Bank, 296 Va. 367, 382 (2018). Thus, Plaintiffs bear the burden of

 pleading with specificity, either under Virginia substantive law or under Rule 9(b).

          The new Third Amended Complaint is deficient under the required pleading standards.

 Plaintiffs do not state specifics for either misrepresentation claim. The Court has previously held

 that Plaintiffs could not establish the details regarding the “newspaper questions” of their

 allegations of fraud. Dkt. 114 at 28. The same requirement to “specify the statements contended

 to be fraudulent, identify the speaker, state when and where the statements were made, and explain

 why the statements were fraudulent” applies to Plaintiffs’ new misrepresentation claims, and both

 amended complaints fail to do so with respect to each Plaintiff and each instance of reliance.

 Williams v. WMX Techs., Inc., 112 F.3d 175, 177 (5th Cir. 1997).

          Even after adding factual allegations to their Third Amended Complaint, Plaintiffs plead

 only conclusory allegations and set forth no specific explanation of how each Plaintiff was harmed

 by a misrepresentation of fact contained in the IDSA guidelines, nor when and where those alleged

 misrepresentations occurred.      Other than three isolated statements identified in deposition



 9
     This Court has recognized that Lone Star Fund overturned the case holding to the contrary that
     was relied on by Plaintiffs in their response. Dragoslavic v. Ace Hardware Corp., 274 F.Supp.3d
     578, 586 (E.D. Tex. 2017) (recognizing the later decision in Lone Star Fund controls over the
     case cited by Plaintiffs, Am. Realty Trust, Inc. v. Hamilton Lane Advisors, Inc., 115 Fed. App’x
     662 (5th Cir. 2004)).
                                                     18
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 21 of 27 PageID #: 8537




 testimony, Plaintiffs give no details of which doctors relied on the IDSA Guidelines, whether that

 reliance overrode the doctor’s own judgment and actually caused whatever injury was alleged,

 how the doctors first read the Guidelines (and when and where), or when and where those doctors

 made decisions that thereafter caused Plaintiffs’ alleged harm. The examples cited in the Third

 Amended Complaint fail to give specifics, and the details that are provided indicate at most an

 inference that the doctors referenced the Guidelines in discussions with a Plaintiff – not that any

 doctor actually relied upon them.

        E.      Virginia Would Not Recognize Plaintiffs’ Claim For Derivative Reliance
                Because IDSA Had No Special Relationship With Plaintiffs

        Plaintiffs argue that they can recover under Restatement (Second) Torts §§ 310-11 because

 they were treated by some doctors who, in turn, allegedly relied at least partially on the IDSA

 Guidelines in making diagnostic or treatment decisions regarding Plaintiffs’ care. But Virginia

 would not recognize such derivative reliance, which could make IDSA liable to third-party

 plaintiffs based on how treating physicians interpreted the guidelines. There is “no duty to control

 the conduct of third persons to prevent harm to another” unless there is a “special relationship

 between the defendant and the third party,” such as a psychiatric hospital taking charge of a

 dangerous patient having an obligation to prevent the patient from harming others or an employer

 having an obligation to prevent their employees from harming customers. Nasser v. Parker, 249

 Va. 172, 176 (1995). Plaintiffs do not allege any relationship between themselves and IDSA,

 much less the type of “special relationship” that would require IDSA to have prevented the

 Plaintiffs’ doctors from causing harm to Plaintiffs after reading the IDSA Guidelines.

        Virginia does not recognize an exception to its rule based on Plaintiffs’ cited Restatement

 provisions. The only cases where Virginia courts have considered Restatement section 311 have

 been where the plaintiff was a minor and the parents relied on an express promise of safety for the

                                                 19
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 22 of 27 PageID #: 8538




 child. See Doe v. Roe School, 67 Va. Cir. 387, *3 (2005). In Doe, a boarding school could be held

 liable for fraud based on promises to the parents that it would keep the child safe if enrolled. Id.

 In contrast, the representations in the IDSA Guidelines are not specific to the Plaintiffs, and

 Plaintiffs’ treating physicians are not similarly situated to parents of a minor child.

        Even under the Restatement, Plaintiffs have failed to plead viable claims. Comments to

 Restatement Section 311 specifically discuss how it will apply in the type of doctor-patient

 relationship usually required to allow a plaintiff to rely on medical opinions about their specific

 bodily condition. Rest. (2d) Torts, § 311, cmt a (explaining the provision applies in cases of “the

 professional duty of a physician to give correct information as to the character of the disease from

 which his patient is suffering”). Even under Plaintiffs’ preferred Texas law, “Texas courts have

 not explicitly adopted § 311.” Butler v. Juno Therapeutics, Inc., No. H-18-898, 2019 WL 2568477,

 *24 (S.D. Tex. June 21, 2019). The most favorable use of the provision under Texas law involved

 injury to the employee of a contractor leading to liability for the owner of the job site for

 misrepresenting the safety of the equipment the employee was working on. EDCO Prod. Inc. v.

 Hernandez, 794 S.W.2d 69, 76-77 (Tex. App. 1990).              In a more analogous case, clinical

 researchers who allegedly withheld evidence of negative side effects were not held liable for

 misrepresentations when the drug they were studying was later sold to plaintiffs who alleged they

 suffered harm from taking it. Staples v. Merck & Co., Inc., 270 F.Supp.2d 833, 840-41 (N.D. Tex.

 2003). In the face of this uncertainty, this Court should not expand the reach of either state’s

 common law to impose potential liability on IDSA under Plaintiffs’ new misrepresentation claims.

        Plaintiffs cite two isolated cases where medical organizations have been found liable in

 tort, but neither applies here. In Snyder v. Am. Ass’n of Blood Banks, 676 A.2d 1036 (N.J. 1996),

 the New Jersey courts found that the American Association of Blood Banks (“AABB”) owed


                                                   20
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 23 of 27 PageID #: 8539




 patients a duty of care to test blood transfusions for HIV. 10 There was no issue there of

 misrepresentation in educational and voluntary guidelines issued to the medical community.

 AABB and IDSA are not similarly situated. “In 1984, the AABB was more than a trade association.

 It was the governing body of a significantly self-regulated industry.” Snyder v. Am. Ass’n of Blood

 Banks, 144 N.J. 269, 296 (1996). In fact, the FDA would adopt AABB standards as its own

 regulations. Id. In contrast, there is no allegation that IDSA plays any formal regulatory role or

 has the type of operational involvement in actual patient care that AABB had. The case offers no

 support for a claim against a non-regulatory body that issues guidelines with no binding effect.

           Plaintiffs’ other authority is a medical malpractice case where the issue was whether the

 First Amendment provides absolute immunity to a medical association for assuring patients that

 blood transfusion products were safe when in fact there was a risk the transfusions could transmit

 HIV. In re Factor VIII or IX Concentrate Blood Prod. Litig., 25 F. Supp. 2d 837, 846 (N.D. Ill.

 1998). The court concluded at the summary judgment stage that the plaintiffs actually did rely on

 the association’s representations in deciding which products to use. Blood Prod. Litig, 25 F.

 Supp.2d at 840. The case has no bearing here because there is no allegation – and could be no

 allegation – that Plaintiffs themselves relied on the IDSA guidelines. And, of course, the risk of

 HIV transmissions was a fact that could be proved.

           Plaintiffs’ cases all rely on a more direct relationship between plaintiffs and the defendant

 medical societies, such as an actual regulatory body or a direct recommendation akin to an actual

 doctor-patient relationship. Plaintiffs do not and cannot allege that IDSA has such a relationship




 10
      Decided just a year later, the New York case cited by Plaintiffs relied on Snyder in a nearly
      identical case. See Weigand v. Univ. Hosp. of New York Univ. Med. Ctr., 659 N.Y.S.2d 395,
      398 (N.Y. Sup. Ct. 1997).
                                                   21
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 24 of 27 PageID #: 8540




 with them, and thus Plaintiffs cannot rely on the Guidelines as factual representations to assert

 claims of misrepresentation.

 VI.    The Court Should Strike Plaintiffs’ New Misrepresentation Claims Because They
        Come Too Late And Are Highly Prejudicial

        Plaintiffs’ only response to the motion to strike the Second Amended Complaint is that the

 Court’s Docket Control Order contains a standard provision stating “[i]t is not necessary to file a

 Motion for Leave to Amend before the deadline to amend pleadings.” Dkt. 309. Yet this provision

 does not give Plaintiffs a blank check to add new claims requiring new discovery after the end of

 fact discovery in a highly prejudicial manner.

        The Court’s Docket Control order does not grant parties “the right to freely amend without

 leave.” Dkt. 362 at 15; Daves v. Payless Cashways, Inc., 661 F.2d 1022, 1025 (5th Cir. 1981)

 (“Liberality in pleading does not bestow on a litigant the privilege of neglecting her case for a long

 period of time.”). Whether to accept an amendment is squarely “within the discretion of the

 District Court,” and the Court may refuse to accept an amendment if there is “undue prejudice to

 the opposing party by virtue of allowance of the amendment.” Foman v. Davis, 371 U.S. 178, 182

 (1962). Both the Second and Third Amended Complaints run afoul of the well-established

 standards to determine whether “justice so requires” that an amendment be permitted. See Fed. R.

 Civ. P. 15(a)(2).

        With their Third Amended Complaint, Plaintiffs “attempted to establish a new factual basis

 and legal theory … more than a year after [their] institution of suit, after discovery had been

 terminated and after the defendant’s motion for summary judgment.” Addington v. Farmer's

 Elevator Mut. Ins. Co., 650 F.2d 663, 667 (5th Cir. 1981). Just like in Addington, the Court should

 find Plaintiffs’ attempts to amend under these circumstances is prejudicial. Plaintiffs admit there

 will be prejudice because there must be a reopening of discovery, which Plaintiffs seek to

                                                  22
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 25 of 27 PageID #: 8541




 downplay, Dkt. 362 at 15, but which likely would require new document productions, new

 interrogatories, new independent medical examinations, and new depositions – not only on

 damages but on substantive elements of Plaintiffs’ new claims.

        In addition, in their Response Plaintiffs threatened to take their interpretation of the Court’s

 Docket Control order to an even greater extreme and file yet another amendment to evade any

 other dispositive motions that may be filed before April. Dkt. 362 at 4. The Court should not

 permit the disruption such actions threaten to cause. “At some point in the course of litigation, an

 unjustified delay preceding a motion to amend goes beyond excusable neglect … we also must

 protect ‘a busy district court (from being) imposed upon by the presentation of theories seriatim.”

 Daves, 661 F.2d at 1025.

                                          CONCLUSION

        For the reasons stated herein and in Defendants’ Motion to Dismiss (Dkt. 355), Defendants

 request that the Court dismiss all counts of Plaintiffs’ Second and Third Amended Complaints

 with prejudice. In the alternative, if the Court does not dismiss all counts, Defendants request the

 Court strike Plaintiffs new misrepresentation claims in both the Second and Third Amended

 Complaints.




                                                  23
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 26 of 27 PageID #: 8542




  Dated: February 12, 2021              Respectfully Submitted,

                                        PILLSBURY WINTHROP SHAW
                                        PITTMAN LLP

                                        BY: /s/ Ronald Casey Low
                                        RONALD CASEY LOW

                                        Ronald Casey Low
                                        State Bar No. 24041363
                                        401 Congress Avenue, Suite 1700
                                        Austin, TX 78701
                                        Phone: (512) 580-9616
                                        Fax: (512) 580-9601
                                        Email: casey.low@pillsburylaw.com

                                        Alvin Dunn – Lead Attorney
                                        (pro hac vice)
                                        1200 Seventeenth St. NW
                                        Washington, D.C. 20036
                                        Tel: (202) 663-8000
                                        Fax: (202) 663-8007
                                        Email: alvin.dunn@pillsburylaw.com

                                        ATTORNEYS FOR DEFENDANTS
                                        INFECTIOUS DISEASES SOCIETY OF
                                        AMERICA, DR. GARY P. WORMSER, DR.
                                        RAYMOND J. DATTWYLER, DR.
                                        EUGENE SHAPIRO, DR. JOHN J.
                                        HALPERIN, DR. LEONARD SIGAL, AND
                                        DR. ALLEN STEERE




                                      24
Case 5:17-cv-00190-RWS Document 363 Filed 02/12/21 Page 27 of 27 PageID #: 8543




                                 CERTIFICATE OF SERVICE

        I, Casey Low, hereby certify that on the 12th day of February, 2021, the foregoing

 DEFENDANTS’ MOTION TO DISMISS OR STRIKE THIRD AMENDED COMPLAINT AND

 REPLY IN SUPPORT OF MOTION TO DISMISS OR STRIKE SECOND AMENDED

 COMPLAINT, with exhibits and accompanying Proposed Order, were filed through the ECF

 system and will be sent electronically to the registered participants as identified on the Notice of

 Electronic Filing (NEF), and paper copies will be sent to those indicated as non-registered

 participants.



                                               ___/s/ Casey Low__________________________
                                               Casey Low




                                                 25
